Case 1:18-md-02865-LAK Document 249 _ Filed 12/27/19 Page1of11

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re
MASTER DOCKET

CUSTOMS AND TAX ADMINISTRATION
OF THE KINGDOM OF DENMARK Case No, 1:18-md-02865-LAK
(SKATTEFORVALTNINGEN) TAX
REFUND SCHEME LITIGATION,

This document relates to 1:18-cv-05053-LAK

THIRD-PARTY DEFENDANT ED&F MAN CAPITAL MARKETS, LTD.’S
REPLY MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS
THE AMENDED THIRD-PARTY COMPLAINT PURSUANT TO RULE 12(b)(2) OR
FOR FORUM NON CONVENIENS OR IN THE ALTERNATIVE TO STAY ALL
PROCEEDINGS AGAINST IT

Case 1:18-md-02865-LAK Document 249 _ Filed 12/27/19 Page 2of11

Third-Party Defendant ED&F Man! respectfully submits this reply memorandum of law in
support of its motion to dismiss the ATPC pursuant to Rule 12(b)(2), or, alternatively, for forum
non conveniens, or for a stay pending the resolution of a foreign action.

PRELIMINARY STATEMENT

In its moving Memorandum, ED&F Man analyzed each allegation in the Goldstein
Defendants’ ATPC bearing on this Court’s exercise of personal jurisdiction over ED&F Man and
the considerations weighing against the third-party claims proceeding in this Court at this time.
ED&F Man applied recent precedent to a liberal construction of the self-contradicting and tenuous
claims, showing that they do not support personal jurisdiction over ED&F Man in New York (or
anywhere else in the United States for that matter). In their Opp., the Goldstein Defendants double
down, further contorting the contradicted or irrelevant facts to fit their narrative. They ignore key
aspects of the due process analysis, and insist on an impractical and ultimately unconstitutional
application of the personal jurisdiction jurisprudence. Now, despite it being their fourth chance to
establish a prima facie basis, they still fail to allege the facts necessary to establish personal
jurisdiction.

ARGUMENT

I. The Goldstein Defendants Fail to Allege Any Facts Supporting the Court’s Exercise
of Personal Jurisdiction Over ED&F Man

The Goldstein Defendants’ Opp. relies on pointed phrasing rather than substantive facts to
transform irrelevant or contradicted allegations into a basis for personal jurisdiction, to no avail.
This underscores the fact that the ATPC fails to allege non-conclusory, uncontroverted facts that

make out a prima facie case for personal jurisdiction. See Charles Schwab Corp. v. Bank of Am.

! For the purposes of this reply memorandum, all capitalized undefined terms shall have the same referents as the same
terms in the moving memorandum of law in support of the instant motion (the “Memorandum”), and the Amended
ATPC shall be referred to as the “ATPC” as defined in the Goldstein Defendants’ Opposition (“Opp.).
Case 1:18-md-02865-LAK Document 249 _ Filed 12/27/19 Page 3of11

Corp., 883 F.3d 68, 81-82 (2d Cir. 2018) (prima facie showing must be based on “legally
sufficient” allegations of jurisdiction); Robinson v. Overseas Military Sales Corp., 21 F.3d 502,
507 (2d Cir. 1994) (courts will take as true uncontroverted factual allegations, but will not draw

argumentative inferences in plaintiff's favor).

A. The ATPC Fails to Allege ED&F Man’s Minimum Contacts Within the Forum

The Goldstein Defendants continue to offer allegations regarding contacts that corporate
affiliates have with New York that are not ED&F Man’s contacts and that are wholly unrelated to
the third-party claims. (Opp. pp. 4-5). The Opp. further argues, though the ATPC does not allege,
that ED&F Man “uses the same services, infrastructure, and personnel” as two New York City-
based affiliates, citing a webpage that links to the U.S.-based affiliate. (Opp. p. 5). Yet the ATPC
does not (and cannot) allege that ED&F Man is a mere alter ego of any New York affiliate, or
should otherwise be treated as the same entity for purposes of personal jurisdiction. See Jazini v.
Nissan Motor Co., 148 F.3d 181, 185 (2d Cir. 1998) (a court will not accept legal conclusions
couched as factual allegations that foreign corporation is a “mere department” of its U.S. affiliate
in determining personal jurisdiction); SPV Osus Ltd. v. UniCredit Bank Austria, No. 18-CV-
3497(AJN), 2019 WL 1438163, at *8 (S.D.N.Y. Mar. 30, 2019) (declining to consider facts and
theories raised in the first time in opposition briefing on alter ego theory for jurisdiction). This is
merely an improper attempt to conflate separate legal entities for purposes of jurisdictional
analysis, a tactic that courts in this District reject. See, e.g., Laydon v. Bank of Tokyo-Mitsubishi
UFJ, Ltd., No. 12 Civ. 3419 (GBD), 2017 WL 1113080, at *7 (Mar. 10, 2017); Daimler AG v.
Bauman, 571 U.S. 117, 134-36, 134 S. Ct. 746, 759-60 (2014).

Personal jurisdiction must be based on ED&F Man’s own contacts with the forum, not
those of its holding company or affiliates. See Goodyear Dunlop Tires Operations, S.A. v. Brown,

564 U.S. 915, 930, 131 S. Ct. 2846, 2857 (2011) (rejecting that petitioners’ ties to corporate
Case 1:18-md-02865-LAK Document 249 _ Filed 12/27/19 Page 4of11

affiliates in the U.S. should be consolidated). The Goldstein Defendants’ claims about the brand’s
advertisements, which are not the basis for any of the claims, do not unite the entities into one for
personal jurisdiction. Schwab, 883 F.3d, at 83-84, Even if the alleged statements about ED&F
Man’s “unfettered access to New York markets” (Opp. p. 17) or the use of “co-location facilities”
(essentially servers to facilitate global transfer of information) near New York financial exchanges
were ED& Man’s direct statements, these are not contacts with the forum sufficient to constitute
purposeful availment.” “Laydon v, Mizuho Bank, Ltd., No. 12 CIV. 3419 GBD, 2015 WL 1515358,
at *3 (S.D.N.Y. Mar. 31, 2015) (Communications that ‘passed through and/or were stored within
the United States’ are insufficient to assert personal jurisdiction over a defendant.”); Bank of
Tokyo-Mitsubishi UFJ, Ltd., 2017 WL 1113080, at *4.

Finally, suggesting that a foreign entity that either has, or holds itself out as having, mere
access to U.S, markets is somehow by that fact subject to the personal jurisdiction of U.S. courts
vastly exceeds the limits of due process, and makes the Court’s jurisdiction potentially limitless.
See Daimler, 571 U.S. at 137-39, 134 S. Ct. at 760-61 (“Such exorbitant exercises of all-purpose
jurisdiction” would deprive foreign corporations of notice of which acts would render them liable
to suit in the United States).

A. ED&F Man Is Not Subject to Personal Jurisdiction under New York Law

The Goldstein Defendants’ allegations purporting to demonstrate ED&F Man’s projection
into New York are either conclusory, irrelevant, or contradicted by their other allegations or by
documents they referenced in the ATPC or submitted to the Court. They fail to allege a basis for

long-arm jurisdiction over ED&F Man under New York law.

2 The Opp. attempts to add a further basis for long-arm jurisdiction under N.Y. C.P.L.R. 302(a)(4), though this is
nowhere alleged as a basis for jurisdiction in the ATPC. (Opp. p. 17).
Case 1:18-md-02865-LAK Document 249 _ Filed 12/27/19 Page5of11

It is undisputed that a contractual relationship with a resident is not enough to confer long-
arm jurisdiction over a non-resident in New York. See Bristol-Meyers Squibb v. Superior Ct. of
California, San Francisco Cty., 137 S. Ct. 1773, 1777 (2017). While the Opp. recites this standard
(Opp. p. 15), the Goldstein Defendants nevertheless argue that the mere fact that ED&F Man knew
the Goldstein Plan was domiciled in New York is sufficient to subject it to the Court’s jurisdiction.
(Opp. pp. 18-19). The agreements between ED&F Man and the Goldstein Plan were not negotiated
in New York, and the ATPC does not allege any communications about the terms between the
parties, in New York or otherwise. (Memorandum, pp. 17-20). The agreements are contracts of
adhesion, stating the same terms and obligations between ED&F Man and the Goldstein Plan as
with any other client anywhere in the world,?

The Opp. misleadingly refers to “solicitations” of trades underlying the primary claims in
the MDL, but these were merely communications sent in the course of ED&F Man’s performance
of the agreements. Performing these England-centered contracts necessarily required transactions
“presented, structured, funded, and executed” exclusively from ED&F Man’s office in London,
communicating pursuant to the contract to the Goldstein Plan or its agent, and transferring funds
from the Goldstein Plan’s brokerage account to its designated account. Yet, these facts follow from
the mere fact that the Goldstein Plan is domiciled in New York — they were not the result of ED&F
Man independently and purposefully directing its activities to the United States. Thus, the
Goldstein Defendants are relying on their own contacts with the forum, which is insufficient to
subject ED&F Man to the Court’s jurisdiction. See Walden v. Fiore, 571 U.S. 277, 284-85, 289,
134 S, Ct. 1115, 1122, 1125 (2014). None of these communications constitute transaction of

business under New York’s long-arm statute or purposeful availment under the standards of due

3 See generally, ATPC Exs. F, G, Niven Decl. Exs. B-E.
Case 1:18-md-02865-LAK Document 249 _ Filed 12/27/19 Page 6of11

process. See Beatie & Osborn LLP v. Patriot Sci. Corp., 431 F. Supp. 2d 367, 387-88 (S.D.N.Y.
2006) (communications about an existing contract from out-of-state defendant was not transaction
of business under New York’s long-arm statute).

Nor did ED&F Man’s business as a whole project it into the forum, As the agreements
indisputably show, ED&F Man’s business model, far from the predatory, ever-soliciting specter
the Goldstein Defendants raise, is simply a custodian facilitator of trades at the express instruction
and initiative of the client or their representative. ED&F Man provides no investment advice or
strategies, only information incident to the transaction of the desired trades.° Far from projecting
itself into the United States, the location of the client does not affect its operation in the slightest.
See Walden, 571 U.S. at 286, 134 S. Ct. at, 1123.

The Goldstein Defendants’ claims that ED&F Man “solicited” them to enter into this
contractual relationship, intentionally borrowing the language of New York’s long-arm statute, are
contradicted by their own pleadings and the referenced agreements. They claim that ED&F Man
targeted and solicited them to open an account in exchange for ED&F Man “bring|ing] dividend
arbitrage opportunities” (Opp. p. 24) but this claim is directly refuted by their allegation that the
Goldstein Plan specifically sought out dividend arbitrage, and came to ED&F Man through a prior
relationship trading in these securities. (Opp. p. 3; ATPC, at { 324).° Moreover, they claim that the
agreements memorialized this, yet nowhere is this specific promise stated. (See ATPC Exs. F, G).

The Goldstein Defendants continue to recite the baseless argument that ED&F Man

engaged in “banking activity” in the forum sufficient to confer long-arm jurisdiction, through a

4 Compare ATPC at Ff 119-125 with ATPC Ex. F 9 2, 8-9, 11-12, Niven Decl,. Exs. C, { 1.3, and E, J] 3, 17, 22.

5 See Niven Decl. Ex. E, {| 3; ECF Doc No, 190-3 (The Goldstein Defendants filed a document purporting to
demonstrate the solicitation of the Novo Nordisk trade from April 2014 in particular, yet it shows only ED&F Man
informing them on trade opportunities, and the direction from the Goldstein Plan’s agent to proceed with the trade,
The email disclosure specifically disclaims any investment advice or instruction.)

6 The Goldstein Defendants failed to allege any basis for imputing an alleged business model of a separate, non-party
and now defunct entity to ED&F Man, and their allegations contradict any claim that it originated with ED&F Man.
Case 1:18-md-02865-LAK Document 249 _ Filed 12/27/19 Page 7of11

bank account owned by the Goldstein Plan, not by ED&F Man. None of the cases they cite in

support of this are applicable, as each considers the exercise of personal jurisdiction over foreign

banks that maintained and used their own U.S. correspondent accounts to facilitate transferring

money to customer accounts, not direct transfers to customers’ U.S. accounts like the Goldstein
Plan’s. See, e.g., Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d 161, 168 (2d Cir.
2013); Gucci America, Inc. v. Weixing Li, 135 F. Supp. 3d 87, 95 (S.D.N.Y. 2015); Vasquez v.
Hong Kong & Shanghai Banking Corp., Ltd., No. 18 Civ. 1876 (BAE), 2019 WL 3252907
(S.D.N.Y. July 19, 2019).

The Goldstein Defendants’ allegations that they were harmed while domiciled in New
York are insufficient under N.Y. C.P.L.R. 203(a)(3) to confer jurisdiction over ED&F Man,
because the situs of the harm was not in New York. The Goldstein Plan’s ED&F Man brokerage
account, through which all trading activity occurred, was maintained in London. The Goldstein
Plan could have been located anywhere else and the effect on them would have been the same,
therefore there was no New York situs sufficient to bring ED&F Man within its jurisdiction. See
Troma Entm't, Inc. y. Centennial Pictures Inc., 729 F.3d 215, 220-21 (2d Cir. 2013).’ The ATPC
also fails to establish that under CPLR 302(a)(3) ED&F Man derived “substantial revenue” from

its services. They make no allegations of the sum of ED&F Man's fees or how it meets this

7 The Opp. incorrectly cites as the opinion of the Court in the cases cited in ED&F Man’s Memorandum the mandatory
disclosure under the Second Circuit’s rule in the reporter legend. Although Second Circuit summary orders are not
binding, they may be cited (Fed, R. App. P. 32.1) and have frequently been held to be persuasive authority that should
not be lightly ignored by the district court. See, e.g., Liana Carrier Ltd. v, Pure Biofuels Corp., No. 14-CV-3406
(VM), 2015 WL 10793422, at *4 (S.D.N.Y. Aug, 14, 2015), affd, 672 F, App'x 85 (2d Cir. 2016) (“[C]ourts in the
Second Circuit have often noted that unpublished opinions and Summary Orders from the Second Circuit Court of
Appeals, while not binding, can be instructive to district courts in resolving particular disputes, and also may be seen
as highly persuasive and predictive of how the Second Circuit Court of Appeals would decide an issue in the future.”).
® The Opp. misleadingly states that ED&F Man “charg[ed] the Plan fees once SKAT processed its Reclaim
Applications, which totaled nearly $1.5 million” as satisfying this prong of the long-arm statute, but the $1.5 million
figure refers to the damages alleged by SKAT against the Goldstein Defendants (ATPC § 207), not ED&F Man’s fees,
Case 1:18-md-02865-LAK Document 249 _ Filed 12/27/19 Page 8of11

standard,? See AmTrust Fin. Servs., Inc. v. Lacchini, 260 F. Supp. 3d 316, 332 (S.D.N.Y. 2017).
Nor have they alleged that ED&F Man rendered services “in the state.” On the contrary, the
contract was performed entirely in England. See Schwab, 883 F.3d, at 88.

ED&F Man facilitated the transactions in England of Danish securities on European
exchanges for numerous clients, some of whom happen to be domiciled in the U.S. It did not
project itself into the United States, and any tenuous contact with the forum is merely incidental
See id., Walden, 571 U.S., at 289, 134 S. Ct., at 1125 Therefore, the Goldstein Defendants have
not met their burden of establishing prima facie this Court’s exercise of personal jurisdiction over
ED&F Man under New York’s long-arm statute.

B. The Goldstein Defendants Failed to Allege Any Other Basis for Jurisdiction

The Goldstein Defendants failed to allege facts demonstrating that ED&F Man
purposefully availed itself of the U.S. securities laws. None of their cited authority considers facts
in which the defendant both: (i) traded in foreign securities, and (ii) traded on foreign exchanges,
thus not directly utilizing or affecting the U.S. securities and exchange infrastructure. See Morrison
y. Nat'l Australia Bank Ltd., 561 U.S. 247, 265 130 S. Ct. 2869, 2883 (2010). The Goldstein
Defendants also unconvincingly attempt to use the examples of other defendants in the MDL as a
basis for conferring long-arm jurisdiction over ED&F Man in New York. The long-arm statutes
of other states do not apply to the analysis of the Goldstein Defendants’ claims, which must have
a nexus with this forum. See Schwab, 883 F.3d, at 83-84 (plaintiff failed to establish personal
jurisdiction with respect to each claim asserted based on each defendant’s individual forum
contacts).

II. Exercise Of Jurisdiction Would Be Inconsistent With Due Process

® They also do not allege ED&F Man’s substantial revenue from international commerce, reciting only revenue and
assets of separate corporate affiliates, not of ED&F Man itself. (Opp. p. 26).
Case 1:18-md-02865-LAK Document 249 _ Filed 12/27/19 Page9of11

The Goldstein Defendants’ claims that New York has a significant interest in adjudicating
this dispute are misplaced. Unlike in State Farm Fire & Cas. Co. v. Sqizz Style, Inc,, 246 F. Supp.
3d 880 (S.D.N.Y. 2017), which found New York’s interests in protecting domestic consumers to
be significant in a products liability case, the Goldstein Plan’s voluntary submission to the laws
and courts of England for disputes arising out if its London brokerage account do not weigh in
favor of exercising personal jurisdiction. Because none of ED&F Man’s activities were directed at
New York, the fact that the relationship with a New York resident gave rise to the alleged claims
is irrelevant. See Sullivan v. Barclays PLC, 2017 WL 685570, at *45 (S.D.N.Y. Feb. 21, 2017).

Moreover, the Opp. ignored the fourth and fifth factors of the reasonableness inquiry of the
due process analysis for personal jurisdiction, incorrectly asserting “because this case does not
involve parties based in different United States jurisdictions, [these factors] are not relevant here.”
(Opp. p. 21). This is contrary to the controlling precedent articulated in Asahi Metal Industry Co.
v. Superior Ct. of California, Solano Cty., which “calls for a court to consider the procedural and
substantive policies of other nations whose interests are affected by the assertion of jurisdiction by
the [] court.” 480 U.S. 102, 115, 107 S. Ct. 1026, 1033 (1987). Those factors, which the Court
should consider, weigh in favor of dismissal. (See Memorandum, pp. 27-28).

Il. The Goldstein Defendants Agreed that England Is the More Convenient Forum

The Goldstein Defendants’ claims that the Court should not dismiss ED&F Man on forum
non conveniens grounds ignores the fact that they specifically agreed not to dispute that the Courts
of England are the most convenient forum (See Custody Agreement, ATPC Ex. F, at clause 22(e)),
and that submitting to the courts of a foreign legal system in a dispute governed by English law
places a burden on ED&F Man. (Memorandum, p. 26). The Opp. overstates the Goldstein
Defendants’ burden of bringing their action in England, particularly since they already agreed to

the non-exclusive jurisdiction of the Courts of England for all disputes with ED&F Man. Their
Case 1:18-md-02865-LAK Document 249 Filed 12/27/19 Page 10of11

reliance on Giudi v. Inter-Continental Hotels Corp. is inapposite because it accorded more weight
to the burden factor based on the “atypical” fact that the plaintiffs in that action were victims of a
terrorist act in Egypt. 224 F.3d 142, 147 (2d Cir. 2000). The Goldstein Defendants, as sophisticated
and willing investors with an English broker-dealer, are not so burdened. Accordingly, the Court
should dismiss the claims in this forum.

IV. The Court Should Alternatively Stay All Proceedings Against ED&F Man

The Opp. incorrectly argues that the concurrent English Action “would not resolve the
Goldstein Parties’ issues with ED&F Man.” The English Action will make determinations
dispositive of the Goldstein Defendants’ claims, because it will illuminate what happened with the
trades for which ED&F Man issued the incorrect vouchers and determine whether ED&F Man was
at all culpable in issuing them, which ED&F Man denies. (See ATPC Ex. A). Thus a court with
jurisdiction over ED&F Man will make critical findings of fact and conclusions of law on the
precise trades at issue, but the Goldstein Defendants urge this Court to simultaneously make the
same determinations, risking inconsistent outcomes, See Evergreen Marine Corp. v. Welgrow Int'l
Inc., 954 F. Supp. 101, 104 (S.D.N.Y. 1997). The Goldstein Defendants would moreover have the
opportunity of full recourse if the action were stayed, and they could subpoena ED&F Man for any
necessary documents in the interim.!? While they complain of needing to “rely on the kindness of
strangers” for information, they have not even attempted to subpoena ED&F Man, instead electing
to bring spurious third-party claims. They therefore cannot claim prejudice simply because they

do not want to use the appropriate vehicle for obtaining relevant documents.

'° The Goldstein Defendants could seek non-party discovery from ED&F Man even if the Court finds no personal
jurisdiction, through requesting the Court to issue letters rogatory for the production of relevant documents See Joseph
v. Gnutti Carlo S.p.4., No. 15-CV-8910 (AJN), 2016 WL 4083433, at *1 (S.D.N.Y. July 25, 2016), If the Court finds
it has personal jurisdiction over ED&F Man, it may subpoena ED&F Man pursuant to 28 U.S.C, § 1783.
Case 1:18-md-02865-LAK Document 249 Filed 12/27/19 Page11of11

V. The Court Should Deny Jurisdictional Discovery and Further Amendments

The ATPC still fails to plead a basis for the Court’s exercise of personal jurisdiction over
ED&F Man, and these deficiencies are not cured by the Opp. The Goldstein Defendants’ claims,
even taken as true, utterly fail to demonstrate prima facie personal jurisdiction over ED&F Man,
and further amendment to the increasingly complex, contradictory and implausible allegations
would not remedy the deficiencies, but would only increase the time and cost of this litigation. See
Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir.2000). Likewise, jurisdictional discovery would be
futile because the contracts at issue are already in the record and undisputed, and discovery into
the legally deficient allegations would not illuminate the issue of personal jurisdiction. See Bank
of Tokyo-Mitsubishi, 2017 WL 1113080, at *8. The Court should therefore deny the broad
discovery the Goldstein Defendants seek under the guise of jurisdictional discovery, and deny any
further amendment to their already over-complicated third-party claims.

CONCLUSION

For all of the foregoing reasons, ED&F Man respectfully requests that the Court issue an
order dismissing the ATPC as against ED&F Man, or alternatively staying the ATPC as against
ED&F Man pending the resolution of the English Action.

Respectfully submitted,
AKERMAN LLP

By:___/s Brian S. Fraser
Brian S, Fraser
Kristen G. Niven
brian, fraser@akerman.com
kristen niven@akerman.com
666 Fifth Avenue, 20" Floor
New York, NY 10103
Telephone: (212) 880-3800
Attorneys for Third-Party Defendant ED&F Man
Capital Markets, Ltd.

10
